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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                         Case No. 06-cr-85-01-PB

Richard Villar, et. al.


                                  O R D E R


     Defendant, Joshua Gagnon, through counsel, has moved to

continue the July 6, 2006 trial in the above case, citing the

need for additional time to engage in plea negotiations or

prepare a defense.       The government and co-defendant does not

object to a continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to negotiate a plea agreement or properly prepare for trial, the

court will continue the trial from July 6, 2006 to October 3,

2006.     In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C.A. § 3161(h)(8)(A) that for the above-stated

reasons, the ends of justice served in granting a continuance

outweigh the best interests of the public and the defendants in a

speedy trial.
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      The court will hold a final pretrial on September 25, 2006

at 4:15 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

June 30, 2006

cc:   Sven Wiberg, Esq.
      Douglas Miller, Esq.
      Terry Ollila, Esq.
      United States Probation
      United States Marshal




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